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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )     Case No. 16-2105-JAR-JPO
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
___________________________________ )

              DEFENDANT’S MOTION FOR A STAY OF BRIEFING REGARDING
                PLAINTIFFS APPLICATION FOR ATTORNEY FEES, OR IN THE
                   ALTERNATIVE, AN EXTENSION OF TIME TO RESPOND

       Defendant Kobach respectfully requests a stay of responsive briefing on the issue of the

amount of the sanction the Court will award Plaintiffs in the form of attorney fees. This Court’s

finding of indirect civil contempt and the imposition of a sanction is currently on appeal in the

Tenth Circuit. Because a stay of the judgment is required under K.S.A. § 20-1205, defense counsel

attempted to contact opposing counsel, Mr. Ho, on Friday, May 18, 2018 to seek agreement or to

confirm that briefing is stayed but Mr. Ho has failed to respond. Although not technically a motion

for fees, opposing counsel’s submission requires a response. Absent a stay, a response to a non-

dispositive filing is due within 14 days, which would be May 21, 2018. Local Rule 6.1(d). In light

of the pending appeal, Defendant requests a stay of proceedings until the reviewing court has ruled.

A stay of proceedings is warranted because the communications between the parties, as reflected

in the submission, are directly related to the finding of contempt. In the alternative, Defendant

requests an extension of time of 30 days to respond to opposing counsel’s submission.

I.     Divestiture of Jurisdiction Applies to All Matters Involved in the Appeal




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          The filing of an appeal “confers jurisdiction on the court of appeals and divests the district

court of its control over those aspects of the case involved in the appeal.” Stewart v. Donges, 915

F.2d 572, 575 (10th Cir. 1990) (citation omitted). Regardless of the type of appeal, the district

court is divested of jurisdiction over the matters involved in the appeal. Id. “The district court

retains jurisdiction [only] over ‘peripheral matters unrelated to the disputed right,’ so divestiture

turns on the nature of the defense that is the subject of the appeal.” Id. at 576. Here, the matters

involved in the appeal are inseparable from the communications exchanged between the parties

because the Court based its finding, in part, on the agency’s responses and actions to each

communication occurring over a nine-month period.

II.       Requested Fees Cover Nine Months of Time Entries from Eight Different
          Timekeepers Located in a Different Market

          Counsel has submitted fees in excess of $50,000 for one motion. The fees were incurred

by eight different timekeepers working in different law firms and in different geographical

markets. The time entries are spread out over the course of nine months and appear to coincide to

responses and actions taken by Defendant. The analysis as to the appropriateness of the entries

(who did the work, how long it took, whether it was necessary, whether it was related to alleged

violations of a court order, and the hourly billable rate as compared to the local market, etc.) will

be time-consuming and likely duplicative of the analysis on appeal. For this reason, it would serve

judicial economy to address counsel’s submitted fees after the reviewing court has ruled on the

appeal.

III.      Conclusion

          For all of these reasons, Defendant respectfully requests a stay of responsive briefing

related to the fee submission until the Tenth Circuit rules. The fees pertain to communications

between the parties that may either refute or support a finding of contempt, making them related




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to the matters on appeal. In the alternative, due to the complexity of the fees submitted, Defendant

requests an extension of 30 days to respond.



Dated: May 20, 2018                                  Respectfully submitted,

                                                     /s/ Sue Becker
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                                                     Attorneys for Defendant Kobach

                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 20th day of May, 2018, I electronically filed

the above and foregoing document using the CM/ECF system, which automatically sends notice

and a copy of the filing to all counsel of record.



                                               /s/ Sue Becker
                                               Sue Becker
                                               Attorney for Defendant Kobach




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